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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EFFINGHAM DIVISION

In re:                                            )
                                                  )
        BOYCE ALLEN BURNS and                     )            Case No.: 19-60349
        AMANDA LANE BURNS,                        )            Chapter 7
                                                  )
                               Debtors.           )
************************************************* )
NANCY J. GARGULA,                                 )
United States Trustee,                            )
                                                  )
                Plaintiff,                        )
                                                  )
        vs.                                       )            Adversary No.: 20-06018
                                                  )
DEIGHAN LAW LLC                                   )
f/k/a LAW SOLUTIONS CHICAGO LLC,                  )
d/b/a UPRIGHT LAW LLC,                            )
                                                  )
and                                               )
                                                  )
JAMES E. FORD,                                    )
                                                  )
                Defendants.                       )


            UNITED STATES TRUSTEE’S OBJECTION TO DEFENDANTS’
                  MOTION TO WITHDRAW THE REFERENCE




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The Court should deny the Motion to Withdraw the Reference (the “Motion”) filed by Deighan Law

LLC, d/b/a in Illinois as Upright Law LLC (“UpRight Law”) and James Ford (“Mr. Ford”)

(collectively “Defendants”) seeking withdrawal of the reference under 11 U.S.C. § 157(d) of core

bankruptcy matters, because the Motion is substantively flawed.

                                               Introduction

        This Motion is the Defendants’ second attempt to obtain withdrawal of the reference of core

bankruptcy matters pertaining to UpRight Law’s alleged violation of its duties to the Debtors in the

above-captioned bankruptcy case. Significantly, the Motion contains the same groundless claims that

the United States District Court for the Southern District of Illinois (“District Court”) has already

soundly rejected in its denial of the Defendants’ Motion to Withdraw the Reference in the Burns’ main

Bankruptcy Case, and in its denial of Defendants’ Motions to Withdraw the Reference in three other

adversary proceedings pending against UpRight Law. 1 As with the other Three Adversaries in which

the District Court denied withdrawal of the reference, the above-captioned adversary involves core

bankruptcy proceedings brought pursuant to 11 U.S.C. §§329 and 526 and Bankruptcy Rule 2017.

Likewise, as the District Court determined with respect to the other Three Adversaries, substantial

and material consideration of non-Bankruptcy Code law is not remotely necessary for the resolution

of the case. Further, and also like the other Three Adversaries, Defendants’ Motion was filed untimely,

after the Bankruptcy Court had already denied their Motion to Dismiss this case, and after Defendants

filed their Answer. Defendants’ Motion should be denied for the same reasons set forth in the District

Court’s decisions in the other adversaries and, more specifically, for all the reasons set forth below.

                                  PROCEDURAL BACKGROUND



1
 The three adversary proceedings (collectively, the “Three Adversaries”) pending in the Bankruptcy Court are:
Gargula v. Deighan Law LLC, et al (In re Potter), AP Case No. 20-06008; Gargula v. Deighan Law LLC, et al (In
re Brucker), AP Case No. 20-03052; and Gargula v. Deighan Law LLC, et al (In re McClatchery), AP Case No. 20-
03054.

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             UpRight Law’s first attempt to withdraw one of their cases 2 from the Bankruptcy Court was

rejected by Chief Judge Nancy J. Rosenstengel of the United States District Court for the Southern

District of Illinois (“District Court”) on December 9, 2019. See, Eric Homa vs. United States Trustee,

SDIL Case No. 3:19-cv-01139-NJR, Doc. No. 9. UpRight Law’s second attempt to withdraw the

reference was filed by Defendants on October 1, 2020, in thirty-five cases which were consolidated

by the District Court. 3 Defendants simultaneously sought leave to appeal bankruptcy court

interlocutory orders denying their motions to close in those same thirty-five cases, and those thirty-

five appeals have also been consolidated. The consolidated appeals and Second Request for Withdraw

of Reference were denied on April 16, 2021 by Judge Stephen P. McGlynn of the United States District

Court for the Southern District of Illinois. UpRight Law’s third, fourth, and fifth unsuccessful requests

to withdraw a case from the Bankruptcy Court were in the Three Adversaries. Defendants’ Motion

represents UpRight Law’s sixth attempt to withdraw the reference from the Bankruptcy Court.

           After Defendants filed Boyce and Amanda Burns’ (“Debtors”) underlying bankruptcy case

(the “Burns Bankruptcy Case”), the Bankruptcy Court set a hearing to consider and act upon the

“Disclosure of Attorney Compensation” (Bkr. Case, Doc. 9); at the conclusion of which, the

Bankruptcy Court directed Defendants to file an itemization of the attorney’s fees charged and the

services provided. (Bkr. Case, Doc. 26). Defendants filed their “Itemization of Work” (Bkr. Case,

Doc. 28). The UST requested Defendants’ consent to the Rule 2004 examinations of Debtors and

Mr. Ford. Defendants refused to consent, resulting in formal Motions for Rule 2004 Examinations

being filed. (Bkr. Case, Docs. 43 and 45). Defendants objected to those motions. At a hearing, the

Bankruptcy Court heard, considered, and rejected Defendants’ objections to the motions and

ultimately issued an Order (Bkr. Case, Doc. 55) authorizing only two Rule 2004 examinations in the



2
    In re Chelsea Lynne Potter, SDIL Case Number 19-60216 (the “Potter Bankruptcy Case”).
3
    Deighan Law LLC, et al., v. Gargula, 3:20-cv-01176-SPM (the “Second Request for Withdraw of Reference”).

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Burns Bankruptcy Case: an examination of the Debtors and one of Mr. Ford. Defendants did not

appeal the order authorizing the examinations. Those two examinations were conducted on the same

day and in the same location. No other Rule 2004 examinations have been taken in the Burns

Bankruptcy Case. Discovery has not yet commenced in this adversary proceeding.

         On December 31, 2020, the UST filed the above-captioned complaint seeking compensatory

and injunctive relief as well as the imposition of sanctions against Defendants pursuant to 11 U.S.C.

§§ 526 and 329 4 and Federal Rule of Bankruptcy Procedure 2017. Following Defendants’ Motion to

Dismiss and brief in support of the Motion to Dismiss, and the UST’s Objection thereto, the

Bankruptcy Court denied Defendants’ Motion to Dismiss. Defendants thereafter filed their Answer

to the Complaint and then filed their Motion on April 12, 2021.

         Pursuant to 28 U.S.C. § 157(a), a district court may refer “any or all cases under title 11, any

or all proceedings arising under title 11 or arising in or related to a case under title 11” to the

bankruptcy judges of the district. 28 U.S.C. § 157(a). The District Court has done so in this district. 5

That section of the United States Code further provides that:

         The district court may withdraw, in whole or in part, any case or proceeding referred
         under this section, on its own motion or on timely motion of any party, for cause
         shown. The district court shall, on timely motion of a party, so withdraw a proceeding
         if the court determines that resolution of the proceeding requires consideration of
         both title 11 and other laws of the United States regulating organizations or activities
         affecting interstate commerce.

28 U.S.C. § 157(d). In the Motion, the Defendants allege two bases for mandatory withdrawal of the

reference and a third basis for permissive withdrawal. First, the Defendants argue that the District

Court must withdraw the reference in this adversary proceeding because they have a Seventh




4 Further statutory citations are to Title 11 of the United States Code (the “Bankruptcy Code”), unless otherwise indicated.
5 This district’s Local Rule Br 1001.1 is broad in scope and automatically refers all cases rising under Title 11 to the
bankruptcy judge in this district and provides, “[i]t is the intention of this Court that the Bankruptcy Judges be given the
broadest possible authority to administer cases properly within their jurisdiction, and this rule shall be interpreted to
achieve this end.”

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Amendment right to a jury trial and because the adjudication of the case requires consideration of

constitutional issues, including the Due Process Clause of the Fifth Amendment. Alternatively, or

additionally, the Defendants argue that the District Court should exercise its discretion and

permissively withdraw the reference due to a variety of factors, chief among them the Defendants’

allegation that the UST’s claims are not core. 6 For the reasons set forth in this Objection, the Court

should deny the Motion in its entirety.

                                                    Argument

I.       The Claims in the Complaint Are Statutory, Core Matters Under the Bankruptcy Code

         “There can be no more fundamental exercise of core subject matter jurisdiction by the

bankruptcy court than its policing of professionals whom debtors pay to render service in connection

with their cases.” In re Rose, 314 B.R. 663, 683 (E.D. Tenn. 2004). In defiance of this well-settled law,

and underpinning their misplaced Motion, Defendants argue erroneously that the claims in the

Complaint, which are brought pursuant to 11 U.S.C. §§ 329, 526, and Bankruptcy Rule 2017 are non-

core matters. To the contrary, claims addressing debtors’ counsel arising under §§ 329, 526, and

Bankruptcy Rule 2017 are core matters concerning the administration of the estate. See In re Rosales,

621 B.R. 903, 912 (Bank. D. Kan. 2020); In re Henderson, 360 B.R. 477, 483–84 (Bankr. D.S.C. 2006);

In re Davis, 605 B.R. 658, 660 (Bankr. D. N.J. 2019); In re Harrelson, 537 B.R. 16, 27 (Bankr. M.D. Ala.

2015). Also contrary to Defendants’ contentions, the UST’s request for sanctions as provided for in

§526 is also a core matter, as it arises out of claims which are themselves core proceedings. See In re

French Bourekas, Inc., 183 B.R. 695, 696 (Bankr. S.D. N.Y. 1995) (holding that the power to sanction




6
  The Defendants alternatively request that if the Court denies the Motion, that the Court instead certify the Seventh
Amendment right to a jury trial issue and the Fifth Amendment due process issue for interlocutory appeal to the United
States Court of Appeals for the Seventh Circuit. The Defendants did not provide any argument or authority in support
of this request in their Memorandum in Support of the Motion, so the UST also did not address this request herein.
Should the District Court decide to consider the Defendants’ alternative request, the UST would request the opportunity
to brief its opposition to that request as well.

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parties for conduct in a core matter is itself core); In re Williams, 2018 WL 832894, at *17 (Bankr. W.D.

Va. 2018), aff’d in part, vacated in part, remanded at 2019 WL 6742996 (W.D. Va. December 11, 2019).

II.      There is no constitutional right to a jury trial on the statutory, core bankruptcy claims
         in this adversary proceeding.

         Defendants erroneously assert that they “possess a Seventh Amendment right to a jury trial

on the claims asserted by the United States Trustee in her Complaint … pursuant to 11 U.S.C. § 526

(Counts I, II and III).” (Doc. 15-1, Pg.1) 7 Notably, Defendants cannot and have not cited to a single

case in which a court held there is a jury trial right on core, statutory claims asserted under 11 U.S.C.

§ 526. Nevertheless, Defendants conclude that the District Court must withdraw the reference based

upon their specious claim of a jury trial right and demand by Defendants. For the reasons set forth

below, Defendants’ arguments fail.

        A. Defendants’ demand for jury trial should be denied because the UST’s complaint alleges
causes of action and remedies that are equitable in nature and involve public rights.

         The Seventh Amendment to the United States Constitution provides, “[i]n Suits at common

law, where the value in controversy shall exceed twenty dollars, the right of a trial by jury shall be

preserved…”. U.S.Const. amend. VII. The United States Supreme Court has consistently interpreted

the phrase “Suits at common law” to refer to, “suits in which legal rights were to be ascertained and

determined, in contradistinction to those where equitable rights alone were recognized, and equitable

remedies were administered….” Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 41-42 (1989).

         In Granfinanciera, the Supreme Court enunciated a three-part analysis for determining the right

to a jury trial. A court must first determine whether the action is one historically tied to juries, by

comparing the statutory action to 18th century actions brought in the courts of England prior to the

merger of courts of law and equity. Id. at 42. Second, the court must consider whether the matter



7
 Defendants erroneously state that all three counts of the Complaint are brought pursuant to Section 526. Count III
was not brought pursuant to Section 526, rather, it was brought pursuant to Section 329.

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should be characterized as legal, rather than equitable in nature. This inquiry is more important than

the first in the court’s analysis. Id., citing Tull v. United States, 481 U.S. 412, 417-418 (1987). If the matter

is equitable in nature, then the party does not have a right to a jury trial. If the matter is legal, then a

court must decide, as the third inquiry, whether the matter involves a matter of private rights as

opposed to public rights. There is no right to a jury trial for issues of public rights that Congress has

committed to a non-Article III adjudicative body or specialized court of equity. Granfinanciera, 492

U.S. 33, 42 & n.4, 50 (1989).

         1.       The UST’s injunction and sanctions claims were not historically tied to jury trials.

         In this adversary proceeding, the UST is seeking to prevent unfair and deceptive conduct and

consumer abuse by a debt relief agency under § 526. The Complaint requests (inter alia) injunctive

relief and sanctions in connection with these bankruptcy cases. Such claims were not historically tied

to jury trials.

         Just as § 110 is a consumer protection statute enacted in 1994 to regulate bankruptcy petition

preparers, (see Gould v. Clippard (In re Gould), 340 B.R. 861, 880 n. 28 (M.D. Tenn. 2006), citing H.R.

Rep. 102-834, 103rd Cong., 2d Sess. 40-41 (Oct. 4, 1994); 140 Cong. Rec. H10770(Oct. 4, 1994)), §§

526-528 of the Bankruptcy Code are also consumer protection statutes enacted by Congress in 2005

to strengthen “professionalism standards for attorneys and others who assist consumer debtors with

their bankruptcy cases”. See H.R. Rep. No. 109-31, 109th Cong. 1st Sess. 17 (2005). There were no

similar consumer protection laws or causes of action in England for trial by juries in the 18th century.

       2. Defendants are not entitled to a jury trial on the UST’s injunctive and sanctions claims
because they are equitable rather than legal in nature.

         The injunction and sanction remedies sought by the UST are clearly equitable in nature. The

primary remedy requested in the complaints is an injunction under § 526(c)(5)(A) to prohibit the

violation of § 526, which regulates debt relief agencies.



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        The Federal Rules of Bankruptcy Procedure include in the definition of “adversary

proceedings” under Fed. R. Bankr. P. 7001, “a proceeding to obtain an injunction or other equitable

relief….” See Fed. R. Bankr. P. 7001(7). In Demos v. Brown (In re Graves), 279 B.R. 266 (B.A.P. 9th Cir.

2002) (“Graves”), the Bankruptcy Appellate Panel affirmed the bankruptcy court’s ruling that there is

no right to a trial by jury in an injunction action under §110(j). The Graves court stated that “[t]he

“Seventh Amendment analysis of §110(j), which is a statutory cause of action solely for an injunction,

is straightforward. It is long-settled that an action solely for an injunction is “equitable” in nature,

hence not subject to the Seventh Amendment right to trial by jury.” Id. at 272, citing United States v.

Louisiana, 339 U.S. 699, 706 (1950) (other citations omitted). See also In re Micron Separations, Inc., 220

B.R. 733, 734 (Bankr. D. Mass. 1997) (holding that “[a]n action for injunctive relief is of course

equitable in nature and hence does not implicate jury trial rights”).

       3. Defendants are not entitled to a jury trial because the relief requested in the U.S. Trustee’s
complaints arises out of public, not private rights.

        The UST’s complaint also requests the imposition of civil penalties. Even assuming that such

relief is “legal” rather than “equitable,” Defendants are not entitled to trial by jury on these issues

because they involve a “public right” entrusted by Congress to a non-Article III tribunal or specialized

court of equity. See Granfinanciera, 492 U.S. at 42 & n.4, 50.

        A “private right” is the “liability of one individual to another under the law as defined” such

as a “[w]holly private tort, contract, and property cases.” Granfinanciera, 492 U.S. at 51 and n.8, citing

Atlas Roofing Co. v. Occupational Safety and Health Review Comm’n, 430 U.S. 442, 458 (1977) and Crowell v.

Benson, 285 U.S. 22, 50 (1932).

        “Public rights” are “statutory rights that are integral parts of a public regulatory scheme and

whose adjudication Congress has assigned to an administrative agency or a specialized court of equity.

Granfinanciera (supra), 492 U.S. at 55 n.10. A case asserts a public right if it “arise(s) between the

Government and persons subject to its authority in connection with the performance of the
                                                    8
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constitutional functions of the executive or legislative departments”. Id. at 51 n.8. Situations involving

public rights include, for example, “where the Government is involved in its sovereign capacity under

an otherwise valid statute creating enforceable public rights.” Granfinanciera, 492 U.S. at 51, citing Atlas

Roofing, 430 U.S. at 458. See also Stern v. Marshall, 131 S. Ct. 2594, 2611-15 (2011).

         It is clear that this proceeding involves “public” rather than “private” rights. The statute at

issue – 526 – is part of a regulatory schemes established by Congress to protect consumers, the aim

of which is to protect consumer debtors from unscrupulous conduct by debt relief agencies. See, e.g.,

Milavetz, Gallop & Milavetz, P.A. v. United States, 559 U.S. 229, 231-32 (2010) (debt relief agency

provisions were “enacted . . . to correct perceived abuses of the bankruptcy system”); Hersh v. United

States ex rel. Mukasey, 553 F.3d 743, 761 (5th Cir. 2008) (noting that that the sections of the Bankruptcy

Code governing debt relief agencies are “meant to curb abuse of the bankruptcy system”). Plaintiff is

a statutory official acting in her official capacity to enforce this consumer protection statute. Thus,

this proceeding is substantially different from a common law action in tort or contract to address the

private rights of individual litigants. 8

         As the Supreme Court has stated, “[i]f a claim that is legal in nature asserts a “public right,” ...

then the Seventh Amendment does not entitle the parties to a jury trial if Congress assigns its

adjudication to an administrative agency or specialized court of equity.” Granfinanciera, 492 U.S. at 42

n.4. Here, Congress specifically authorized the bankruptcy courts to adjudicate such claims. See 28




8 Defendants also mischaracterize the status of the UST and themselves as “non-parties” and imply that they are being
investigated as if they were acting in a “private” capacity before the Bankruptcy Court. Pursuant to 11. U.S.C. § 307,
however, the UST is a party in interest with standing to raise and be heard on any matter. The UST is given explicit
standing to bring the actions in the Complaint under §§ 329 and 526(c)(5). Likewise, as officers of the Court and attorneys
for the Debtors, Defendants are explicitly subject to the Bankruptcy Court’s jurisdiction to regulate their conduct as
attorneys and debt relief agencies, and to review their fees and transactions with debtors and assisted persons. See Chambers
v. NASCO, Inc., 501 U.S. 32, 43-45 (1991); Memorial Estates, 950 F.2d at 1371; In re Volpert, 110 F.3d 494, 500-501 (7th Cir.
1997); Law Solutions of Chicago LLC v. Corbett, 971 F.3d 1299, 1316 (11th Cir. 2020) (Bankruptcy court had jurisdiction to
impose sanctions on UpRight Law under §526 even in closed cases); In re Tabor, 583 B.R. 155 (Bankr. N.D. Ill. 2018); In
re Ebel, 371 B.R. 866, 868 (S.D. Ill. 2007). See also 11 U.S.C. §§ 105(a), 329, 330, 526 -528, Bankruptcy Rules 2016 and
2017.

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U.S.C. § 157(b)(1), (2). 9 Bankruptcy courts “are essentially courts of equity.” Katchen v. Landy, 382 U.S.

323, 327 (1966); see also Granfinanciera, 492 U.S. at 57. 10 Therefore, because this case concerns the

enforcement of a statutory scheme protecting public rights, no right to a trial by jury is implicated

under the third part of the Granfinanciera test. 11

         B. There is no statutory right to a jury trial in this adversary proceeding.

         There is no statutory right to a jury trial with respect to the causes of action alleged in the

UST’s complaint. Neither §§ 526-528 nor any other statute create a right to a jury trial with respect to

the causes of action alleged in this adversary proceeding.

         Nothing in the text of any of the sections of §§ 526-528 or their enacting statute hints that

Congress meant to create a statutory jury trial right for any of violations of those sections. (See

Bankruptcy Abuse Protection and Consumer Protection Act of 2005 (the “BAPCPA”), §227(a),

Pub.L. 109-8, 119 Stat. 23(2005)(enacting 11 U.S.C. §§526-528.) Thus, Defendants are not entitled by

any statute to a jury trial with regard to the UST’s adversary proceeding.

         C. Conclusion

         Neither the Constitution nor any statutes of the United States afford the Defendants the right

to a jury trial in this proceeding. The Seventh Amendment to the Constitution does not afford the

Defendants a right to a jury trial because the UST’s complaint alleges causes of action and remedies

that are equitable in nature and involve public rights. Additionally, there are no statutes which create




9
  Originally, § 110(i) prohibited bankruptcy courts from imposing damages under § 110(i); instead, they had to make a
recommendation to the district court. But Congress removed this restriction in 2005 – strongly supporting the view that
Congress believes that such damages are within bankruptcy court’s jurisdiction. Moreover, Congress never limited
bankruptcy courts’ power to enter injunctions. Sections 526-528 allowed for the Bankruptcy Court to impose damages
from the enactment of the provisions.
10
   Accordingly, 28 U.S.C. § 157(e) provides that it is only in rare cases that bankruptcy courts can use juries: only when
they are specifically designated to do so by the district court and then only with all parties’ express consent. 28 U.S.C. §
157(e).
11
   See also Gould, 340 B.R. at 881 (“statutory equitable actions involving ‘public rights,’ such as the injunction authorized
by §110(j), are not entitled to the Seventh Amendment jury trial right”), citing Graves, 279 B.R. at 272.

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a right to a trial by jury in this adversary proceeding. As such, Defendants demand for a jury trial is

improper and does not constitute a basis for the District Court to withdraw the reference.

III.     Defendants’ non-meritorious assertion of constitutional “defenses” does not mandate
         the withdrawal of the reference.

         Defendants’ conclusory assertions of “constitutional” grounds for mandatory withdrawal are

erroneous and should be rejected. “Mandatory withdrawal is not required any and every time the

bankruptcy court is presented with the need or opportunity to consider federal law other than title 11.

It is only where the non-title 11 federal law regulates organizations or activities affecting interstate

commerce that withdrawal is required.” In re Rimsat, Ltd., 196 B.R. 791, 796 (N.D. Ind. 1995). 12

Defendants have not met their threshold burden to explain how activities affecting interstate

commerce are implicated in the basic core matters of a bankruptcy court’s regulation of attorneys

practicing before it or the bankruptcy court’s authority to control its own docket, particularly in cases

where bankruptcy court-ordered investigations are pending but not yet concluded.

         At least one other court has rejected UpRight Law’s claim that a § 526 matter is subject to

mandatory withdrawal. “At some level, litigation impacts organizations and activities affecting

interstate commerce, but impacting is not synonymous with regulating. Under § 157(d), mandatory

withdrawal requires, at minimum, the presence of a non-Bankruptcy Code federal law that has “more

than a de minimis effect on interstate commerce.” ” Mikulin v. Law Solutions Chicago, LLC, 2020 WL

514474, at *2 (N.D. Ala. January 31, 2020) (citing and quoting In re Rimsat, Ltd., 196 B.R. at 797).

Notably, “Federal laws that “deal[ ] generally with the organization, jurisdiction, structure, and

procedures of the federal judiciary” do not “regulat[e] organizations or activities affecting interstate

commerce” within the meaning of § 157(d).” Mikulin v. Law Solutions Chicago, LLC, 2020 WL 514474,


12
  Defendants cite the case of Picard v. Avellino, 469 B.R. 408, 414 (S.D.N.Y. 2012) as an example of a case that holds that
“consideration of constitutional issues mandated withdrawal of the reference.” But the Picard case contains no such
holding or any other holding that support its citation for this purpose. The Picard case involved the application of
complicated federal securities laws in a bankruptcy case.

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at *2 (quoting In re Coe-Truman, 214 B.R. at 186). All of the UST’s claims in this adversary proceeding

are based solely on violations of, and remedies found in, the Bankruptcy Code, specifically, §§ 329 and

526.

        A. Defendants’ First Amendment Rights Are Not Implicated

        Defendants speciously assert, without any substantive support, that their First Amendment

rights are infringed by the UST’s request under 11 U.S.C. § 526(c)(5) to enjoin UpRight Law from

violating § 526(a) by misrepresentations to prospective assisted persons and assisted persons, including

the Debtors, regarding services Defendants cannot or do not intend to actually provide. As expressed

in the title of the Bankruptcy Abuse Prevention and Consumer Protection Act, §§ 526- 528 are

designed by Congress to protect vulnerable debtors from being misled by attorneys who use deception

and misrepresentation in their transactions with consumer debtors. BAPCPA’s provisions address

misleading representations made to consumer debtors by debt relief agencies (including attorneys) and

thus do not offend the First Amendment. See Milavetz, Gallop & Milavetz, P.A. v. U.S., 559 U.S. 229,

249–50 (2010) (holding section 528 does not impinge on attorney First Amendment rights), citing

Zauderer v. Office of Disciplinary Counsel of Supreme Court of Ohio, 471 U.S. 626, 651 (1985) (an attorney’s

constitutionally protected interest in not providing the required factual information is “minimal…”,

and an advertiser’s rights are adequately protected as long as disclosure requirements are reasonably

related to the State’s interest in preventing deception of consumers) (quotations omitted). Thus,

withdrawal of the reference is not supported by Defendants’ meritless First Amendment argument.

        B. Defendants’ Due Process Rights Have Not Been Violated

        The next constitutional claim made by the Defendants is also without merit. Defendants allege

that the Bankruptcy Court “cannot serve as a neutral arbiter, and thus the Defendants’ Fifth

Amendment right to due process requires withdrawal of the reference. Defendants cursorily list six

examples but provide no case law or legal analysis to support them. Most are abbreviated


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regurgitations from their Second Motion to Withdraw the Reference, their Third Motion to Withdraw

the Reference and their Fourth Motion to Withdraw the Reference (collectively the “Prior Withdraw

Motions”), which have been rejected by the District Court. Addressed below seriatum, they are

erroneous and, in some instances, downright absurd. 13

         (1) “No separation of powers,” because the UST is a component of an executive branch

agency that was directed by the Bankruptcy Court to investigate the fees and practices of UpRight

Law in this and other cases. Defendants contend that because the Bankruptcy Court initiated and

perpetuated these investigations, it cannot impartially preside over an adversary proceeding resulting

from the investigations. There is no basis for this contention, which is a slight variation of nearly

identical arguments in the Prior Withdraw Motions that the Bankruptcy Court and UST do not have

jurisdiction to investigate their fees.

         The Bankruptcy Court has no control over how the UST conducts her investigation, the

results of that investigation, or any enforcement action the UST may choose to take based on the

evidence developed through her investigation. This is akin to saying that a court cannot adjudicate its

own orders to show cause. It is a patently absurd contention, and it is unsurprising that the Defendants

cite no authority in support of their argument on this point. Moreover, the Bankruptcy Court and the

UST each has an independent, statutory duty to review attorneys’ fees and conduct under §§ 329, 526

– 528, and Bankruptcy Rule 2017. See e.g., In re Busy Beaver Bldg Centers, Inc., 19 F.3d 833 (3rd Cir. 1994).

         (2) “The Bankruptcy Court has violated Defendants’ procedural rights” by authorizing

Rule 2004 examinations of UpRight Law, its local partners, and debtors “[i]n violation of the express

limitations of that rule.” This groundless allegation repeats Defendants’ arguments in the Prior

Withdraw Motions. Defendants’ fees and conduct are core matters concerning the administration of



 The UST incorporates her more extensive opposition to Defendants’ meritless constitutional claims set forth in her
13

Opposition to the Second Motion to Withdraw the Reference filed in the Burns Bankruptcy Case at Docket No. 99.

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the estate. In re Rosales, 621 B.R. at 912. As such, the Rule 2004 examinations are within the scope of

Rule 2004. The Bankruptcy Court thus granted the UST’s Motions for 2004 Examinations in this

(and other) cases, exercising its “broad discretion to approve requests for Rule 2004 examinations.”

See In re DeShetler, 453 B.R. 295 (Bankr. S.D. Ohio 2011). The court addressed the Defendants’

objections in its orders and held there was good cause because these subjects are relevant to assist the

Court in determining the reasonableness of the fees charged the Debtor, and fall squarely within

matters under Rule 2004(b). Defendants did not appeal these orders, presumably because Defendants

understand the Court’s rulings were correct. Defendants have not articulated a reason this violates

their rights to due process. Because it does not.

         (3) “The Bankruptcy Court has attempted to usurp the Chapter 7 Trustee’s administrative

functions,” because it denied UpRight Law’s motion to close the Burns Bankruptcy Case and other

cases. 14 The Bankruptcy Code charges the bankruptcy court with the authority and discretion to close

a case, not a chapter 7 trustee. It is within the court’s discretion to decide if a case has been fully

administered. See In re Shotkoski, 420 B.R. 479, 483 (B.A.P. 8th Cir. 2009). When a trustee files a no-

asset report, the case is capable of being closed, but need not be, if the court, in its discretion,

determines the case has not been fully administered. In re Schoenewerk, 304 B.R. 59, 62–63 (Bankr.

E.D.N.Y. 2003). 15 Here, as explained in the opinion issued in the Burns Bankruptcy Case, the

Bankruptcy Court exercised its discretion and set forth in detail its reasons for deciding the Burns

Bankruptcy Case (and other cases) should remain open. Moreover, the filing of the trustee’s report

does not strip the Bankruptcy Court of jurisdiction to investigate, review, and determine the



14 UpRight Law unsuccessfully sought to withdraw the reference in the Burns Bankruptcy Case as to this issue and also
sought interlocutory appeal of the order denying its motion to close the case.
15 Defendants cite In re Koza, 375 B.R. 711, 718 (1st Cir. B.A.P. 2007) for the proposition that the responsibility to review

the accuracy and correctness of a trustee’s final report lies with the U.S. Trustee, and the bankruptcy court intervenes only
when an objection is filed. This is so because the UST has oversight of chapter 7 panel trustees under 28 U.S.C. § 586.
Koza, however, does not supersede the Bankruptcy Code and Rules, which provide to the Court the discretion and
authority to close (and re-open where appropriate) bankruptcy cases.

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reasonableness of attorney fees. See e.g., In re Sweports, Ltd., 777 F.3d 364, 367 (7th Cir. 2015); Law

Solutions of Chicago, LLC v. Corbett , 971 F.3d 1299, 1316-17 (11th Cir. 2020), citing, e.g., In re T.H., 529

B.R. 112, 134 (E.D. Va. 2015) (bankruptcy court’s jurisdiction to impose sanctions “is not affected by

the status of a [bankruptcy] case, whether dismissed or closed, or by whether a discharge has been

entered”).

        (4) “The Bankruptcy Court has already prejudged the merits” by making “Findings of Facts”

in the Opinion setting forth the Bankruptcy Court’s reasons for denying UpRight Law’s motions to

close. Defendants provide no legal basis for this conclusory assertion. Defendants misdirect by

ignoring the very nature of a bankruptcy proceeding, where numerous matters may be raised upon

which the Court may make factual findings in deciding those particular matters. For example, if the

mere existence of court’s findings of fact authorizing a contested Rule 2004 Examination before an

adversary proceeding based on related facts has been filed required withdrawal of the reference, the

entire bankruptcy system of referral from the District Court to the Bankruptcy Court would be

upended. District Court dockets would be flooded with bankruptcy related adversary proceedings

because, as is often noted, a Rule 2004 examination is an investigatory tool not found in the Federal

Rules of Civil Procedure which may presage litigation. See In re Symington, 209 B.R. 678 (Bankr. D.

Md. 1997).

        Defendants also ignore the fact that the Bankruptcy Court’s Findings of Fact were expressly

based on filings made under oath by the Debtor in this bankruptcy case, on forms prepared and filed

by UpRight Law, and on the sworn statements filed by UpRight Law in this case. The Findings of

Fact were not findings on the merits of the allegations raised by the UST in this Complaint, but rather,

related only to the Court’s basis for authorizing Rule 2004 examinations of Debtor and Mr. Ford, and

for concluding that the case has not been fully administered. There is nothing inappropriate about

this.


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         (5) “The Bankruptcy Court has made inconsistent statements about its “motivations” for

ordering the investigations.” This provides no basis for concluding that the Court is not a neutral

arbiter. Defendants conflate “motive” with the Bankruptcy Court’s exercise of its independent

statutory duty to review attorney fees and conduct, based upon the information filed with the Court

in documents sworn under penalties of perjury. The Bankruptcy Court has articulated multiple

reasons for ordering the investigations and has identified concerns with both the fees charged by

UpRight Law as well as UpRight Law’s business practices that may have caused harm to some of its

clients, including Debtor. These are not mutually exclusive problems.

         (6) “The Bankruptcy Court has disregarded any notions of proportionality” by authorizing

2004 examinations in multiple cases filed by UpRight Law and its local partners, because the costs

associated exceed the fees collected by UpRight Law in those cases. Defendants again attempt to

manufacture grounds for withdrawal of the reference of this core proceeding where none exist. In

the Brucker Bankruptcy Case, the UST has only conducted two 2004 examinations, one of Debtors

and the other of Mr. Ford, and both were conducted in a single day. This is not unduly onerous. In

fact, UpRight Law’s own continued objections to any Court or UST inquiry into any case they have

filed have exponentially increased its costs in this and other cases. It cannot be the standard that

Defendants can immunize themselves from any review of their conduct and fees under the Bankruptcy

Code merely by filing endless objections on the identical grounds, and by multiple motions to

withdraw the reference and for leave for interlocutory appeal each time the Bankruptcy Court rejects

Defendants’ unsupported arguments. Accepting Defendants’ fallacious argument would thwart the

UST’s ability to obtain information and evidence to enforce § 526 – 528 as to any debtor law firm’s

pattern or practice violations, not just those of UpRight Law. 16



16Defendants’preemptive objection to discovery that has not yet commenced also provides no basis for concluding the
Bankruptcy Court is not a neutral arbiter. And, any such concern is not ripe, but must be raised when and if such discovery

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          Defendants’ examples of “prejudice” are insufficient to establish a due process violation and

smack of forum shopping and judge shopping. To establish a due process violation, the movant "must

prove actual prejudice or partiality, which requires 'serious facts'." In re Pansier, Bkr Ct. 18-22297 at

Pge 4 (E.D.WI August 5, 2019) (citing Margoles v. Johns, 660 F.2d 291, 296 (7th Cir. 1981). In Margoles,

the Seventh Circuit held that “a litigant is not denied due process by either the ‘appearance’ of partiality

or by circumstances which might lead one to speculate as to a judge’s impartiality. A litigant is denied

due process if he is in fact treated unfairly.” 660 F.2d at 296. Adverse rulings, or the prospect of

future adverse rulings, do not show that the Defendants have been treated unfairly by the Bankruptcy

Court in this case.

          Prior adverse judicial rulings alone may be proper grounds for appeal, but they do not

demonstrate bias and do not provide ‘serious facts’ necessary to state a valid claim for a Fifth

Amendment due process violation. Liteky v. United States, 510 U.S. 540, 555 (1994); Margoles, 660 F.2d

at 296.

          The time for the Defendants to present their defense has not yet occurred. 17 At trial, which

is governed by the Federal Rules of Bankruptcy Procedure, Defendants will have a full and fair hearing

and the opportunity to present evidence on their behalf. As the Bankruptcy Court explained in

denying the Motion to Close the Burns Bankruptcy Case, Defendants have been afforded more than

adequate due process by way of numerous opportunities to file pleadings and to present oral argument

in the disputed matters before the Court.




under the Federal Rules of Civil Procedure, as incorporated by the Federal Rules of Bankruptcy Procedure, may be issued.
Nor does it provide any basis for withdrawal of the reference.
17 Defendants’ citation to Colmenar v. I.N.S., 210 F.3d 967, 971 (9th Cir. 2000) is inapposite. There, an immigration

judge’s ruling on applicant’s deportation case was reversed because the court had pre-judged the case by relying on
written application information and refused to permit the applicant to provide relevant testimony at the hearing
regarding danger to his life.

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        There is no colorable basis for concluding that the Bankruptcy Court will deny Defendants

due process in presenting their defenses in this adversary proceeding. And thus, none of Defendants’

misplaced constitutional claims require withdrawal of the refence.

III.    Permissive withdrawal of the reference is not warranted.

        As an alternative to mandatory withdrawal, UpRight Law argues that this Court should

withdraw the reference in this case in its discretion. Defendants have the burden to establish sufficient

cause for permissive withdrawal of the reference. Homa v. Gargula (In re Potter), Case 3:19-cv-01139-

NJR, Doc. 8, Pge. 2 (S.D. Ill. Dec. 9, 2019) citing In re Stein, Case No. 1:17-cv-00561-TWP-MJD, 2017

WL 2418325 at *1 (S.D. Ind. June 2, 2017)). Defendants have not carried this burden with regard to

this Motion. As Chief Judge Rosenstengel stated in her Order denying Defendants’ first Motion to

Withdraw the Reference in the Potter Bankruptcy Case:

        A district judge “may withdraw, in whole or in part, any case or proceeding referred
        under this section, on its own motion or on timely motion of any party, for cause
        shown” for the removal. 28 U.S.C. § 157(d). Section 157(d) does not define “cause,”
        but courts generally consider the following factors in determining whether cause exists:
        whether withdrawal would promote judicial economy or uniformity and efficiency in
        bankruptcy administration; whether it would reduce forum shopping; whether it would
        cause delay and costs to the parties; whether a particular court has familiarity with the
        case; whether the parties have demanded a jury trial; and whether a core or non-core
        proceeding is involved. See Adelsperger as Tr. For Consol. Bankr. Estate of 5 Star Commercial,
        LLC v. 3d Holographics Med. Imaging Inc., No. 3:16-CV-759-HAB, 2019 WL 2206091, at
        *2 (N.D. Ind. May 21, 2019).

Homa v. Gargula (In re Potter), Case 3:19-cv-01139-NJR, Doc. 8, Pge. 2 (S.D. Ill. Dec. 9, 2019).

        A. Permissive Withdrawal of Core Bankruptcy Matters Should Be Denied

        The most important factor in deciding permissive withdrawal is whether the matter is core.

Coe-Truman Technologies, Inc., 214 B.R. at 187. A core proceeding “invokes a substantive right provided

by title 11 or if it is a proceeding that, by its very nature, could arise only in the context of a bankruptcy

case.” Barnett v. Stern, 909 F.2d 973, 981 (7th Cir. 1990). In footnote 39 on page 18 of the Motion,

Defendants misrepresent the UST’s position and misstate the jurisdictional standards, stating that “the


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UST tacitly concedes, as she must, that this adversary proceeding is not a bankruptcy case; does not arise

in a bankruptcy case; and is not related to a bankruptcy case,” and cites paragraph 3 of the Amended

Complaint. (emphasis added). But, the standard is not whether an adversary proceeding is a

bankruptcy case. Rather, it is the adversary proceeding’s relationship to the Bankruptcy Code that

determines jurisdiction and whether a cause of action is a core proceeding. Core proceedings are

those that “arise under title 11.” 28 U.S.C. § 157(b)(1). Paragraph 3 of the Complaint explicitly states

that it asserts only claims arising directly under (and only under) the Bankruptcy Code (specifically, §§

329 and 526). Thus, as noted at the outset, claims brought under §§ 329 and 526 of the Bankruptcy

Code are core proceedings, as are sanctions requests brought under those same statutes. See, e.g., In re

Rosales, 621 B.R. 903, 912 (Bank. D. Kan. 2020); In re French Bourekas, Inc., 183 B.R. 695, 696 (Bankr.

S.D. N.Y. 1995). Indeed, Defendants mischaracterize Section 157(b), by asserting that the core

statutory claims do not fall within the enumerated list of core matters. Motion at 18. But, Section

157(b) contains a non-exclusive list of core matters. As explained in In re Harrelson, 537 B.R. 16, 27 (Bankr

.M.D. Ala. 2015), while “[a] claim asserting violations of debt relief agency restrictions is not

specifically listed as a “core” proceeding under 28 U.S.C. § 157(b)(2)… Nevertheless, it is

a core proceeding because the right to disgorge fees of entities purporting to provide bankruptcy

assistance is established by the Bankruptcy Code and is unique to bankruptcy.” Similarly, the Seventh

Circuit has long held that an attorney’s conduct affects the administration of the estate and that

sanctions issued in connection with attorney misconduct are core. See In re Memorial Estates, Inc., 950

F.2d 1364, 1370 (7th Cir.1991) (Rule 9011 matter and sanctions issued are core). UpRight Law’s claim

that a proceeding asserting solely statutory bankruptcy code claims is non-core is frivolous and must

be rejected.

        The Bankruptcy Court’s authority to decide disputes, reviews and challenges to the

transactions between UpRight Law and its clients, as well as the reasonableness of UpRight Law’s


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attorney’s fees, to regulate UpRight Law’s conduct as a debt relief agency, and to ultimately decide

adversary cases regarding these issues, are all core matters within the meaning of 28 U.S.C. § 157(b)(2),

as they arise only in the context of a bankruptcy case pursuant to §§ 329, 526-528, 105(a), and

Bankruptcy Rule 2017. The UST’s duty and discretion to conduct such inquiries in the normal course

of its own duties are also core matters that arise only in the context of a bankruptcy case pursuant to

§§ 307, 329, 526-528, 105(a), and Bankruptcy Rule 2017. This Court should decline to withdraw this

adversary proceeding involving purely core matters that should be adjudicated by the Bankruptcy

Court.

         B. Other factors do not favor withdrawal of the reference.

            1. Withdrawal Will Not Promote Judicial Economy

         Defendants assert that “judicial economy and preservation of resources support withdrawal

of the reference.” (Defendants’ Brief, Pge. 18.) As stated above, the matters in the adversary

proceeding are purely core matters such that the Bankruptcy Court can enter final judgment subject

to appellate review by the District Court. Moreover, in denying the First Motion to Withdraw the

Reference, Judge Rosenstengel determined that withdrawal of the core bankruptcy matter would not

promote judicial economy, given the Court’s already heavy existing case load. Homa v. Gargula (In re

Potter), Case 3:19-cv-01139-NJR, Doc. 8, Pge. 5 (S.D. Ill. Dec. 9, 2019).

         Defendants argue that “given that the Bankruptcy Court has permitted the UST to engage in

scorched earth discovery tactics, Defendants have every reason to be concerned that the Bankruptcy

Court will continue to allow inefficient, and grossly excessive, discovery that is massively

disproportional to the needs of this case (and others).” (emphasis in original.) Id. What is missing

from Defendants’ baseless claim is Defendants’ recitation of exactly what discovery has occurred in

this adversary proceeding and in the underlying bankruptcy case. No discovery has been undertaken

in this adversary proceeding pursuant to Part VII of the Federal Rules of Bankruptcy Procedure, which


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incorporate the Federal Rules of Civil Procedure. The only review undertaken by the UST in the

Burns Bankruptcy Case is limited to two Rule 2004 examinations, one of Debtors and one of Mr.

Ford, and both were conducted on the same day. Unlike Upright Law, the UST has not engaged in

“scorched earth” discovery tactics in this adversary proceeding or in the Brucker Bankruptcy Case.

         As Chief Judge Rosenstengel stated, “Judge Grandy is certainly the most familiar with the

underlying case.” Homa v. Gargula (In re Potter), Case 3:19-cv-01139-NJR, Doc. 8, Pge. 5 (S.D. Ill. Dec.

9, 2019). Withdrawing the reference in this adversary proceeding would not hasten the disposition

of this case and is not required nor is it advisable.

         2. Defendants’ Forum-Shopping Should Be Rejected

         Lastly, the Court should repudiate Defendants’ blatant forum-shopping and judge-shopping.

See e.g. In re Doctors Hosp. 1997, L.P., 351 B.R. 813, 868-69 (Bankr. S.D. Tex. 2006) (finding plaintiffs’

motion for withdrawal was a “transparent attempt at forum shopping” after bankruptcy court had

ruled against plaintiffs on application for preliminary injunction); In re New York Trap Rock Corp., 158

B.R. 574, 577 (S.D.N.Y. 1993) (denying defendant's motion on forum shopping grounds where

bankruptcy court had already made adverse decisions relevant to the merits). The Motion is

Defendants’ second attempt relating to Debtors’ bankruptcy to escape the Bankruptcy Court’s

authority by way of withdrawal of the reference. When Defendants’ duplicative motion for leave for

an interlocutory appeal of the Court’s denial of the Motion to Close is factored in, this Motion is

Defendants’ third attempt at forum shopping related to this one case. Defendants’ attempts to subvert

the very purpose of this District Court’s referral of bankruptcy cases to the Bankruptcy Court should

be soundly rejected.

         For all the reasons stated herein, the UST respectfully requests that the Motion be denied in

its entirety.




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Dated: April 26, 2021

                                                      Respectfully submitted,

                                                      NANCY J. GARGULA,
                                                      United States Trustee

                                                      /s/ Mark D. Skaggs
                                                      Mark D. Skaggs, Trial Attorney
                                                      ARDC No.: 6210087
                                                      United States Department of Justice
                                                      Office of the U.S. Trustee

                                  CERTIFICATE OF SERVICE
       The undersigned certifies that a copy of the foregoing document was served upon all parties

of record through their attorneys electronically via the Clerk of the Court’s CM/ECF filing system

on the 26th day of April, 2021.




                                                      /s/ Mark D. Skaggs
                                                      Mark D. Skaggs




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